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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Daniel J. Philipps,                           )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )      No. 09 C 5916
                                              )
Client Services, Inc., a Missouri             )
corporation,                                  )
                                              )
       Defendant.                             )      Jury Demanded

                                          COMPLAINT

       Plaintiff, Daniel J. Philipps, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages for Defendant’s

violation of the FDCPA, and alleges:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant resides and transacts

business here.

                                            PARTIES

       3.      Plaintiff, Daniel J. Philipps ("Philipps"), is a citizen of the State of Illinois,

residing in the Northern District of Illinois, from whom Defendant attempted to collect a

delinquent consumer debt allegedly owed to ATT/Cingular.
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       4.     Defendant, Client Services, Inc. (“Client Services"), is a Missouri

corporation, that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts throughout the nation, including throughout the State of

Illinois. In fact, Client Services was acting as a debt collector as to the delinquent

consumer debt it attempted to collect from Mr. Philipps.

       5.     Defendant Client Services is licensed to do business in the State of

Illinois, and maintains a registered agent within the State of Illinois. See, record from

the Illinois Secretary of State attached as Exhibit A.

       6.     Defendant Client Services is licensed as a debt collection agency in the

State of Illinois. See, record from the Illinois Division of Professional Regulation

attached as Exhibit B.

                                   FACTUAL ALLEGATIONS

       7.     On June 19, 2007, another debt collection agency, First Revenue

Assurance, LLC ("FRA"), began attempting to collect a debt Mr. Philipps allegedly owed

to ATT/Cingular. Due to the fact that Mr. Philipps did not recognize the debt, one of his

attorneys wrote a letter to FRA, disputing the validity of the debt and requesting

verification of the debt. Copies of this letter and the fax and certified mail confirmations

are attached as Exhibit C. FRA failed to produce any evidence that the debt was owed

and, instead, ceased collection actions against Mr. Philipps.

       8.     Almost two years later, Defendant Client Services began trying to collect

the same disputed account from Mr. Philipps, by sending him an initial form collection




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letter, dated April 10, 2009, demanding payment of the alleged ATT/Cingular debt. A

copy of this letter is attached as Exhibit D.

       9.     On May 1, 2009, one of Mr. Philipps' attorneys wrote a letter to Defendant

Client Services to advise it that he was represented by counsel, and to dispute the

validity of the debt and demand proof that the debt was even owed. Copies of this letter

and the fax and certified mail confirmations are attached as Exhibit E.

       10.    On September 1, 2009, Defendant Client Services sent, directly to Mr.

Philipps, its “proof” that the debt was owed, namely a purported “account statement”

from ATT/Cingular, from January, 2007, which is actually a computer-generated

facsimile/summary statement that had never heretofore been sent to him. Copies of

this letter and the purported account statement are attached as Exhibit F

       11.    All of the collection actions at issue occurred within one year of the date of

this Complaint.

       12.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

       13.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

       14.    Defendant knew that Mr. Philipps was represented by counsel in

connection with this debt, because his attorneys had informed Defendant, in writing

(Exhibit E), that he was represented by counsel, and had directed Defendant to cease



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all collection activities and to cease directly communicating with Mr. Philipps. By

directly sending Mr. Philipps the September 1, 2009 letter, despite being advised that

Mr. Philipps was represented by counsel, Defendant Client Services violated §

1692c(a)(2) of the FDCPA.

       15.    Defendant Client Services' violation of § 1692c(a)(2) of the FDCPA render

it liable for damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   PRAYER FOR RELIEF

       Plaintiff, Daniel J. Philipps, prays that this Court:

       1.     Find that Defendant Client Services’ debt collection actions violated the

FDCPA;

       2.     Enter judgment in favor of Plaintiff Philipps, and against Defendant Client

Services, for damages, costs, and reasonable attorneys’ fees as provided by § 1692k(a)

of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Daniel J. Philipps, demands trial by jury.

                                                     Daniel J. Philipps,
                                                     By: /s/ David J. Philipps
                                                     One of Plaintiff's Attorneys
Dated: September 23, 2009

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